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                          UNITED STATES DISTRICT CO~~------~~--~
                        SOUTHERN DISTRICT OF CALIFO IA   .. ":e'\ ..~



UNITED STATES OF AMERICA,
                                                                                        k:D~~j
                                                     CASE NO. 15CR27\O-~_::; .., ~: .~. (-,.;~-:~'~'~~;':i'~
                                                                              ':'   ~   -             "..   ­
                          Plaintiff,
                 vs.                                 JUDGMENT OF DISMISSAL
LUIS HARO (2),

                          Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     8:1324(a) (1) (A) (iii), (v) (II) - Harboring Certain Aliens for Financial Gain, Aiding

    and Abetting; 8:1324 (a) (1) (A) (ii), (v) (I)      Conspiracy to Transport Certain Aliens


     IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 11/12/15
                                                      David H. artlck
                                                      U.S. Magistrate Judge
